Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 1 of 12




                  EXHIBIT A
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 2 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 3 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 4 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 5 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 6 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 7 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 8 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 9 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 10 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 11 of 12
Case 4:20-cv-05640-YGR   Document 1043-1   Filed 11/01/24   Page 12 of 12
